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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

    SYNQOR, INC.,                                    §
                                                     §
    v.                                               §            No. 2:11CV54
                                                     §
    CISCO SYSTEMS, INC. AND VICOR                    §
    CORPORATION                                      §



                              MEMORANDUM OPINION AND ORDER

           The above-referenced case was referred to the undersigned United States Magistrate

    Judge for pre-trial purposes in accordance with 28 U.S.C. § 636. Before the Court are Plaintiff’s

    Opening Claim Construction Brief (Docket Entry #277), Defendants’ Response (Docket Entry #

    280), Plaintiff’s Reply (Docket Entry #285). Also before the Court are the Local Patent Rule

    (“P.R.”) 4-3 Joint Claim Construction and Prehearing Statement (Docket Entry #267) and the

    Joint Claim Construction Chart (Docket Entry #290).

           A claim construction hearing, in accordance with Markman v. Westview Instruments,

    52 F.3d 967 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996), was held in Texarkana on

    December 17, 2013.       After hearing the arguments of counsel and reviewing the relevant

    pleadings, presentation materials, other papers, and case law, the Court finds the disputed terms

    of the patents-in-suit should be construed as set forth herein.

                                            I. BACKGROUND

           Plaintiff filed suit on January 28, 2011, alleging infringement of six patents-in-suit: U.S.

    Pat Nos. 7,072,190 (“‘190 Patent”), 7,269,034 (“‘034 Patent”), 7,272,021 (“‘021 Patent”),

    7,558,083 (“‘083 Patent”), 7,564,702 (“‘702 Patent”) and 8,023,290 (“‘290 Patent”). All of the




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    patents contain disputed claim terms except for the ‘034 Patent for which there are no disputed

    claim terms.

           The patents are all related.     All of the patents except for the ‘021 Patent have a

    continuation and divisional chain to a common parent application. These continuation/divisional

    patents have similar, though not identical, specifications and reference is generally made herein

    to the ‘190 Patent.      The ‘021 Patent is a continuation-in-part patent having a differing

    specification that claims priority at least in part through a variety of applications to the common

    parent application.

    The ‘190 Patent, ‘034 Patent, ‘021 Patent, ‘083 Patent and ‘702 Patent were the subject of a prior

    suit brought by SynQor against a different set of defendants, SynQor, Inc. v. Artesyn Techs., Inc.,

    et al., Case No. 2:07-cv-497-TJW-CE (“‘497 case”). In the ‘497 case, a claim construction order

    was issued on July 26, 2010. ‘497 case, Docket Entry # 474 (“‘497 Order”). The Federal Circuit

    affirmed the trial court findings that the patents were valid and infringed.      SynQor, Inc. v.

    Artesyn Techs., Inc., et al., 709 F.3d 1365 (Fed. Cir. 2013). A number of reexamination

    proceedings have taken place for the patents-in-suit subsequent to the ‘497 Order.

           The parties present five claim terms for construction. None of the disputes currently

    raised by the parties were explicitly addressed by the Federal Circuit. One term in dispute raises

    basically the same issues as addressed in the ‘497 Order for that term (“means for controlling

    duty cycle”). Three other terms were addressed in whole or in part in the ‘497 Order, but the

    issues raised by the current Defendants were not raised or addressed in the ‘497 Order. Three of

    the terms in dispute were not addressed in the ‘497 Order at all (“fixed duty cycle,”

    “substantially uninterrupted flow of power,” and power flow “first before” any regulation stage).




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           As in the ‘497 case, the patents-in-suit are directed to power converters that have,

    typically, a regulation stage without isolation and a separate isolation stage that has no

    regulation. In general, an isolation stage has no electrical connection between its input and

    output, and a regulation stage allows a circuit to control its output voltage. The claims of the

    ‘190, ‘083, ‘702, and ‘290 patents are directed to “regulation” of the output voltage, while the

    ‘034 patent introduces the concept of “semiregulation.”1 The continuation-in-part ‘021 Patent

    introduces the concept of multiple “modes” of operation, including a “normal” mode of

    operation and an “other than normal” mode of operation. Each claim in the ‘021 Patent recites

    that certain actions only occur “during normal operation.”

           The abstract of the ‘190 Patent provides as follows:2
            A power converter nearly losslessly delivers energy and recovers energy from
           capacitors associated with controlled rectifiers in a secondary winding circuit,
           each controlled rectifier having a parallel uncontrolled rectifier. First and second
           primary switches in series with first and second primary windings, respectively,
           are turned on for a fixed duty cycle, each for approximately one half of the
           switching cycle. Switched transition times are short relative to the on-state and
           off-state times of the controlled rectifiers. The control inputs to the controlled
           rectifiers are cross-coupled from opposite secondary transformer windings.

    Claim 1 of the ‘190 Patent is reproduced below:

           A power converter system comprising:

           a DC power source;

           a non-regulating isolation stage comprising:

               a primary transformer winding circuit having at least one primary winding
                  connected to the source; and



    1
      SynQor added “the output can be said to be semi-regulated” language in the specification of the
    ‘034 Patent during prosecution and argued it was already materially disclosed in the rest of the
    specification. Figure 11 of the ‘034 Patent is also new as compared to the original application.
    2
      The abstracts for the ‘034, ‘083, ‘702 and the ‘290 Patents are identical to the abstract of the
    ‘190 Patent.
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               and a secondary transformer winding circuit having at least one secondary
                  winding coupled to the at least one primary winding and having plural
                  controlled rectifiers, each having a parallel uncontrolled rectifier and each
                  connected to a secondary winding, each controlled rectifier being turned
                  on and off in synchronization with the voltage waveform across a primary
                  winding to provide an output, each primary winding having a voltage
                  waveform with a fixed duty cycle and transition times which are short
                  relative to the on-state and off-state times of the controlled rectifiers; and

           a plurality of non-isolating regulation stages, each receiving the output of the
              isolation stage and regulating a regulation stage output while the fixed duty
              cycle of the isolation stage is maintained.

    The abstract of the ‘021 Patent states:
           In a power converter, the duty cycle of a primary winding circuit causes near
           continuous flow of power through the primary and secondary winding circuits
           during normal operation. By providing no regulation during normal operation, a
           very efficient circuit is obtained with a synchronous rectifier in the secondary
           operating at all times. However, during certain conditions such as start up or a
           short-circuit, the duty cycle of the primary may be reduced to cause freewheeling
           periods. A normally non-regulating isolation stage may be followed by plural
           non-isolating regulation stages. To simplify the gate drive, the synchronous
           rectifiers may be allowed to turn off for a portion of the cycle when the duty cycle
           is reduced. A filter inductance of the secondary winding circuit is sufficient to
           minimize ripple during normal operation, but allows large ripple when the duty
           cycle is reduced. By accepting large ripple during other than normal operation, a
           smaller filter inductance can be used.

    Claim 1 of the ‘021 Patent is reproduced below:

           A power converter system comprising:

           a normally non-regulating isolation stage comprising:

               a primary winding circuit;

               a secondary winding circuit coupled to the primary winding circuit, the
                  secondary winding circuit comprising a secondary transformer winding in
                  series with a controlled rectifier having a parallel uncontrolled rectifier,
                  the secondary winding circuit providing a normally non-regulated output
                  of the isolation stage; and

               a control circuit which controls duty cycle of the primary winding circuit, the
                   duty cycle causing substantially uninterrupted flow of power through the
                   primary and secondary winding circuits during normal operation; and

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            a plurality of non-isolating regulation stages, each receiving the non-regulated
               output of the isolation stage and regulating a regulation stage output.

                                   II. LEGAL PRINCIPLES

            The claims of a patent define the invention to which the patentee is entitled the right to

    exclude. Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc). Claim terms

    are given their ordinary and customary meaning to one of ordinary skill in the art at the time of

    the invention, unless there is clear evidence in the patent’s specification or prosecution history

    that the patentee intended a different meaning.        Phillips, 415 F.3d at 1312-13.       Claim

    construction is informed by the intrinsic evidence: the patents’ specification and file histories.

    Id. at 1315-17. Courts may also consider evidence such as dictionary definitions and treatises to

    aid in determining the ordinary and customary meaning of claim terms. Phillips, 415 F.3d at

    1322.   Further, “[o]ther claims, asserted and unasserted, can provide additional instruction

    because ‘terms are normally used consistently throughout the patent.’” SmartPhone Techs. LLC

    v. Research in Motion Corp., No. 6:10-CV-74-LED-JDL, 2012 WL 489112, at *2 (E.D. Tex.

    Feb. 13, 2012) (citing Phillips, 415 F.3d at 1314).        “Differences among claims, such as

    additional limitations in dependent claims, can provide further guidance.” Id.

            A court should “avoid the danger of reading limitations from the specification into the

    claim.” Phillips, 415 F.3d at 1323. For example, “although the specification often describes

    very specific embodiments of the invention, [the Federal Circuit has] repeatedly warned against

    confining the claims to those embodiments.” Id. The Federal Circuit has “expressly rejected the

    contention that if a patent describes only a single embodiment, the claims of the patent must be

    construed as being limited to that embodiment.”         Id.   This is not only because of the

    requirements of Section 112 of the Patent Act, but also because “persons of ordinary skill in the



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    art rarely would confine their definitions of terms to the exact representations depicted in the

    embodiments.” Id. Limitations from the specification should only be read into the claims if the

    patentee “acted as his own lexicographer and imbued the claim terms with a particular meaning

    or disavowed or disclaimed scope of coverage, by using words or expressions of manifest

    exclusion or restriction.” E-Pass Techs., Inc. v. 3Com Corp., 343 F.3d 1364, 1369 (Fed. Cir.

    2003) (citations omitted); Thorner v. Sony Computer Entm’t Am. LLC, 669 F.3d 1362, 1367

    (Fed. Cir. 2012).

           Similarly, the prosecution history may not be used to infer the intentional narrowing of a

    claim absent the applicant’s clear disavowal of claim coverage. Superguide Corp. v. DirecTV

    Enters., 358 F.3d 870, 875 (Fed. Cir. 2004) (citations omitted). “To be given effect, such a

    disclaimer must be made with reasonable clarity and deliberateness.” Id.

           Guided by these principles of claim construction, this Court directs its attention to the

    patents-in-suit and the disputed claim terms.

                                    III. CLAIM CONSTRUCTION

           At the hearing, the parties agreed as to the construction of the following term: “each

    controlled rectifier being turned on and off in synchronization with the voltage waveform

    across a primary winding” means “each controlled rectifier being turned from on to off and

    from off to on at some point in the course of the change of the voltage waveform across a

    primary winding.”

           The parties have submitted the following five disputed terms for construction.




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    A.      “Fixed duty cycle”

    Plaintiff’s Proposed Construction                      Defendants’ Proposed Construction

    “a duty cycle that does not substantially vary.”       “a duty cycle that remains unchanged
                                                           regardless of input voltage or load”

    Alternative proposed in Reply Brief:                   Alternative proposed in Response Brief:

    “the duty cycle of the power switches is not “a duty cycle that changes only negligibly in
    varied to control the output voltage towards a response to changes of input voltage or load.”
    predefined value.”


           This disputed term appears in ‘190 Patent claim 1, ‘083 Patent claims 1 and 39, and ‘702

    Patent claims 1, 28, 55, 78, 82 and 86. This term was not addressed in the ‘497 Order.

           (1) Parties’ Positions

           SynQor asserts the key dispute is whether a “fixed” duty cycle means the duty cycle

    “does not substantially vary” as proposed by SynQor as opposed to “remains unchanged

    regardless of input voltage or load” as proposed by Defendants. (Docket Entry # 277 at 12).

    SynQor further asserts a person of ordinary skill in the art would understand that in real-world

    power converters a duty cycle that has been set at a particular level will necessarily have small

    variations due to a variety of factors: temperature, input voltage, and output current. SynQor

    cites to its expert report for this understanding of one skilled in the art. (Id. at 12-13). SynQor’s

    expert asserts no real world DC-DC converter would literally meet Defendants’ claim

    limitations. (Id. at 13). According to SynQor, Defendants’ construction would thus exclude the

    preferred embodiments of the patents which are real world converters. (Id.). SynQor further

    asserts even Defendants’ expert acknowledged that the actual duty cycle would have variations

    as the temperature, current and, voltage vary over the converters operating range. (Id. at 14).




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           In their response, Defendants assert the plain meaning of “fixed” means “fixed” not

    “substantially fixed.” Defendants assert that elsewhere in the claims “substantially” and “nearly”

    are used for other terms, but they are never used to modify “fixed duty cycle.” According to

    Defendants, “insubstantial” variations are not described in the specification, and SynQor has

    provided no intrinsic evidence to support its position. (Docket Entry #280 at 19). Defendants

    contend that adding “substantially” before “fixed” renders the claims indefinite because SynQor

    is adding a word of degree with no description of the degree supported in the specification. (Id.

    at 20) (citing Halliburton Energy Servs., Inc. v. M-I LLC, 514 F.3d 1244, 1249 (Fed. Cir. 2008)).

    Defendants further assert that when asked SynQor’s expert could not opine on whether 0.001%

    is substantial or not, demonstrating how a jury would not have guidance as to the meaning of

    “substantial.” Defendants claim there is thus no way for one skilled in the art to determine the

    boundaries of the claim. (Id. at 20).

           According to Defendants, their construction conforms with the specification and with

    SynQor’s expert in that a “fixed duty cycle” is not varied to control the output voltage towards a

    set point. (Id. at 20-21). Defendants cite ‘190 Patent at 2:14-18 as the only section of the

    specification that discuses “fixed duty cycle” and assert this section directly contrasts fixed duty

    cycles with converters that regulate the output voltage. (Id. at 21). Defendants assert each claim

    that uses “fixed duty cycle” does so in the context of a non-regulating isolation stage. (Id.)

    (citing ‘190 Patent claim 1; ‘083 Patent claims 1, 39; ‘702 Patent claims 1, 28, 55). Defendants

    assert SynQor’s construction omits the concept on a non-regulating stage and leaves the jury to

    wonder what is “substantial.” According to Defendants, absent guidance from the specification

    as to “substantial,” it is contrary to Federal Circuit law to leave the question to the jury.




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           Defendants further object to SynQor’s expert as being unreliable. First, Defendants

    assert that SynQor’s expert relied on SynQor’s construction in forming his opinion, thus

    providing a circular opinion. Further, Defendants object that every document SynQor’s expert

    relied upon was dated seven to sixteen years after the patent priority date in question. (Docket

    Entry #280 at 22). Defendants assert their expert testified that “substantially” is a relative term

    that would itself require construction. Defendants further assert their expert noted that to the

    extent a fixed duty cycle varies, such variations are negligible and can be quantified using

    percentages if necessary. (Id.).

           Defendants object to SynQor’s characterization of Defendants’ construction as requiring

    “completely” unchanged. Defendants assert that “completely” is not included in its construction.

    Defendants assert that a “real-world converter will of course have a non-zero – but negligible –

    degree of variation in duty cycle.” (Id. at 23). Defendants assert such a duty cycle is still

    “fixed,” “set,” and “unchanged.” (Id. at 23-24). Defendants state their expert testified that 20%

    variance in a duty cycle would be non-negligible but that SynQor cannot put any bounds on the

    term. (Id. at 24). Defendants propose an alternative construction of “a duty cycle that changes

    only negligibly in response to changes of input voltage or load.” (Id. at 24, n. 17).

           In its reply, SynQor notes Defendants admit that a real world converter “will of course”

    have some variation and that SynQor is misreading Defendants’ construction. SynQor objects

    however that a jury may well adopt such a view of Defendants’ term “unchanged.” (Docket

    Entry #285 at 3).     SynQor objects to Defendants’ new proposal of “negligible,” asserting

    Defendants point to no intrinsic evidence that real world variations are only negligible. (Id.).

    SynQor asserts it would agree to the following construction: “the duty cycle of the power

    switches is not varied to control the output voltage towards a predefined value.” (Id. at 3, n. 1).



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        (2) Court’s Construction

        SynQor has provided no intrinsic evidence to support its position regarding use of the

 word “substantial.” When a “‘word of degree’ is used, the court must determine whether the

 patent provides ‘some standard for measuring that degree.’” Biosig Instruments, Inc. v. Nautilus,

 Inc., 715 F.3d 891, 898 (Fed. Cir. 2013) (citation omitted). SynQor has not provided any

 specification citations to indicate the specification provides any guidance as to a measure of this

 word of degree. Conversely, Defendants’ construction of “unchanged” is also problematic.

 Defendants have acknowledged that no real world systems would be “unchanged.” Defendants’

 alternative proposal of “negligible” suffers from the same problems as “substantial.”

        In the context of the specifications, “fixed duty cycle” is described in the context of a

 converter that does not control or regulate its output voltage. Thus, an isolator circuit having a

 fixed duty cycle further requires coupling to a regulation stage to regulate “the output while the

 fixed duty cycle is maintained.” (‘190 Patent at 2:14-18, claim 1.) In the regulator stage,

 “[r]egulation is by control of the duty cycle.” (‘190 Patent at 4:54-55). Thus, regulation is

 achieved by control of the duty cycle, and a fixed duty cycle is a duty cycle that is not controlled.

 “Fixed duty cycle” in this context conforms with SynQor’s alternative proposed construction. In

 addition, this context conforms with Defendants’ statement describing a “fixed duty cycle:” “the

 duty cycle is ‘fixed’ so that it does not regulate the output voltage in response to changes in input

 voltage or load.” Defendants further stated “[a]s SynQor’s expert Dr. Leeb correctly explained

 in the ‘497 case, ‘[a] fixed duty cycle means that the duty cycle of the power switches is not

 varied to control the output voltage towards a set point / predefined values.’” (Docket Entry

 #280 at 20-21). Defendants further stated that “the purpose of having a ‘fixed duty cycle’ is to




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 avoid including circuitry that adjusts the duty cycle in response to variations in input voltage and

 load.” (Id. at 21).

         At the claim construction hearing, Defendants acknowledged such an interpretation by

 showing the structure of a variable duty cycle having feedback control circuitry adjusting the

 power converter based on the output voltage while showing the structure of a fixed duty cycle

 converter lacking such feedback control circuitry. (Defendants Hearing Slide 61). Further,

 Defendants acknowledged that the construction adopted by the Court below which focuses on

 this control context is an accurate and true statement of fact regarding fixed duty cycles.

 Defendants assert such a construction does not resolve the parties’ dispute as to how much “real

 world” variation is permissible. However, the Court’s construction does resolve such dispute as

 the Court’s construction rejects such a context for defining “fixed duty cycle.” Rather, the

 Court’s context conforms to the specification which describes a “fixed duty cycle” in the context

 of a duty cycle that is set to a value and not controlled based upon the detected output voltage.

         The Court therefore construes “fixed duty cycle” to mean “a duty cycle that is not

 varied to control the output voltage towards a predefined value.”




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 B. “Transition times which are short relative to the on-state and off-state times of the
 controlled rectifier”

 Plaintiff’s Proposed Construction                   Defendants’ Proposed Construction

 “transition times” means:                           “transition times” means:
 “time periods during which a change of a            “time periods during which a voltage
 voltage waveform occurs across a primary            waveform across a primary winding undergoes
 winding.”                                           an oscillation.”

 “transition times which are short relative to the   “transition times which are short relative to the
 on-state and off-state times of the controlled      on-state and off-state times of the controlled
 rectifiers” means:                                  rectifiers” means:
 “transition times which are less than 20% of        “the sum of all transition times totals less than
 the overall on-state and off-state times of the     20% of the total switching cycle. Full resonant,
 controlled rectifiers”                              quasi-resonant and multi-resonant converters
                                                     do not have short transitions”




        This disputed term appears in claims 1, 28, and 31 of the ‘190 Patent and claims 1, 28,

 55, 78, 82, and 86 of the ‘702 Patent. In the ‘497 Order, Judge Ward construed this term as

 proposed by SynQor. However, it does not appear the ‘497 Order addressed the specific issues

 raised herein.

        (1) Parties’ Positions

        According to the parties’ briefing, the three issues before the Court are as follows: (1)

 whether the construction should explicitly recite “sum of all transition times;” (2) whether

 transitions are limited to “oscillations;” and (3) whether “full resonant, quasi-resonant and multi-

 resonant converters” should be excluded from short transitions. In its brief, SynQor agreed this

 term literally means “the sum of all transition times totals less than 20% of the total switching

 cycle,” but it asserted it does not believe it is necessary to disturb the ‘497 Order’s construction.

 (Docket Entry #277 at 15, n.8). However, SynQor did not address this dispute in its reply or at




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 the hearing. Thus, the Court agrees with Defendants’ proposal as to “the sum of all transaction

 times.”



 “oscillations”

           Regarding the second issue, SynQor asserts the ‘497 Order’s construction should be

 maintained.      SynQor objects to Defendants’ addition of “oscillations” and asserts that

 “transition” and “oscillation” have different meanings. According to SynQor, to one skilled in

 the art “a ‘transition’ refers to a change in voltage from one level to another level, i.e., from a

 plateau corresponding to one polarity of the signal to a plateau corresponding to the other

 polarity.” (Docket Entry #277 at 15). SynQor asserts a signal may oscillate even when it has not

 transitioned. SynQor demonstrates this with a figure on page 16 of its brief:




 SynQor asserts Defendants’ expert acknowledged that such fluctuations at a plateau would not

 be considered transitions. (Id. at 16). SynQor further asserts that real world systems would have

 some fluctuations and such fluctuations would occur in the time periods of the plateaus and thus

 would not be “short.” SynQor asserts Defendants’ proposed construction would thus not read on

 the preferred embodiments. (Id. at 17).

           In response, Defendants assert the specification explains “the circuit topology permits the

 synchronous rectifier switch transitions to proceed as oscillations between inductors and
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 capacitors.”   (‘190 Patent at 8:8-11).     Defendants assert the specification does not teach

 transitions that are not oscillations.    (Docket Entry #280 at 9).     Defendants point to the

 capacitances C3 and C4 and inductances Lp1 and Lp2 as the elements of Figure 5 in which

 oscillations occur:

        during this part of the transition, the voltages across both transformers’ secondary
        windings will be approximately the output voltage minus half the voltage across
        C3. As the oscillation ensues, therefore, the transformer winding voltages, which
        started at zero, build up toward the output voltage.

 (‘190 Patent at 8:54-59).   Defendants assert the oscillations of the voltages of the transformer

 windings and the oscillations between the capacitors and inductors are thus interrelated. (Docket

 Entry #289 at 10).

        Defendants contend SynQor conflates the concept of oscillations with mere

 “fluctuations” and asserts that “fluctuations” would encompass the random imperfections of a

 real world voltage waveform.       Defendants assert that, just the opposite, it is SynQor’s

 construction that would encompass the imperfections of real world systems in that SynQor’s

 construction of “transition” is any “change” whatsoever, including the random fluctuations

 SynQor points to. (Docket Entry #280 at 10-11). Defendants assert SynQor’s expert agreed that

 “fluctuations” is more general than “oscillations.”     (Id. at 11).   Defendants further assert

 “oscillations” would not include the random changes (noise) SynQor’s briefing focuses on as

 oscillations are systematic changes that are designed to make a system work. (Id.).

        In reply, SynQor argues the ordinary meaning of “transition” is change, and not all

 transitions are oscillations. SynQor asserts Defendants have not pointed to anything in the

 specification mandating that transitions in the primary winding be oscillations. (Docket Entry

 #285 at 4). According to SynQor, the passages relied upon by Defendants regarding the circuit

 elements relate to the switching of the controlled rectifiers, not the voltage on the primary

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 winding.   Moreover, SynQor contends the passage in question merely describes a specific

 preferred embodiment. (Id.).



 “full resonant, quasi-resonant and multi-resonant converters”

        Regarding the third issue, SynQor argues Defendants seek to add the “full resonant,

 quasi-resonant and multi-resonant converters” limitation based on the following passage of the

 ‘190 Patent:

        These transitions are short compared to the overall on-state and off-state portions
        of the switching cycle (e.g. less than 20% of the time is taken up by the
        transition). This characteristic of nearly lossless and relatively short transitions,
        which we will call soft switching, is distinct from that used in full resonant, quasi-
        resonant, or multi-resonant converters where the oscillations last for a large
        portion, if not all, of the on-state and/or off-state time.

 (‘190 Patent at 8:11-19) (emphasis added). SynQor asserts the specification distinguishes long

 transitions from short transitions; long transitions can be, but are not always, found in full

 resonant, quasi-resonant and multi-resonant converters. (Docket Entry #277 at 17).          SynQor

 asserts such converters themselves were not distinguished; only those converters “where the

 oscillations last for a large portion” of the time were distinguished. (Id. at 17-18). SynQor cites

 to its expert’s declaration, contending one in the art would understand that not all of such

 converters would necessarily have transitions for a large portion of the waveform. (Id. at 18).

 SynQor asserts the Judge Ward rejected SynQor’s request to add such a limitation because the

 sentence at issue “does not state that it is a necessary requirement for the definition of the

 disputed phrase.” (Id. at 18) (quoting ‘497 Order at 32).

        According to SynQor, the ‘190 Patent reexamination confirms the limitation should not

 be read into the claims. SynQor notes the Patent Trial and Appeal Board (“PTAB”) adopted the

 ‘497 Order construction and did not add the extra limitations sought by Defendants. (Docket


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 Entry #277 at 18 (citing Ex. 6, PTAB Order at 13). SynQor further notes the PTAB did not

 dismiss the Steigerwald reference merely because the converter was a resonant converter but

 rather because the transition times did not satisfy the 20% limitation. (Id. at 18-19).

        In response, Defendants assert SynQor admitted in the ‘497 case that the passage in the

 ‘190 Patent at 8:16-19 was a disavowal of resonant converts.           (Docket Entry #280 at 6).

 Defendants further assert SynQor repeatedly made such assertions in the file history, including

 statements made in reexamination after the claim construction ruling in the ‘497 case.

 Defendants cite to the following ‘190 Patent reexamination statement made by SynQor:

        Steigerwald ‘539 does not teach that ‘less than 20% of the time is taken up by
        transition.’ Rather, Steigerwald ‘539 clearly teaches a resonant converter (as
        admitted by the Request, p. 148), and therefore was expressly excluded from the
        definition, which is distinct from that used in full resonant, quasi-resonant, or
        multi-resonant converters where the oscillations last for a large portion, if not all,
        of the on-state and/or off state time. …

        In the end, both JP ‘446 and Steigerwald ‘539 have ’long’ transitions, as shown
        by the very waveforms in these documents, because they are specifically resonant
        topologies.

 (Docket Entry #280 at 7) (quoting Ex. 5, SynQor Response to Office Action (‘190 Patent

 Reexamination) at 67-68).      Defendants also cite to the ‘702 Patent reexamination statement

 made by SynQor:

        [r]esonant sinusoidal waveforms do not have the short transitions required to
        drive controlled rectifiers. Rather, slow waveform transitions (inherent in a
        sinusoidal waveform) make it difficult for controlled rectifiers to be driven
        reliably. . . .

        Steigerwald’s capacitance-multiplier converter is a resonant forward converter,
        and the voltage across a primary winding of the converter is sinusoidal in
        shape…[a]s such, the voltage waveform does NOT have short transitions
        compared to the length of the half-cycle….




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 (Docket Entry #280 at 7) (quoting Ex. 6, SynQor Response to Office Action (‘702 Patent

 Reexamination) at 52-53). According to Defendants, such repeated disparagement confirms the

 disavowal of resonant converters. (Id. at 7).

        Defendants note the ‘497 case did not involve resonant converters, so it was unnecessary

 for the Court in the ‘497 Case to add the limitation in question. Further, Defendants assert the

 reexamination statements noted above were made after the claim construction hearing in the ‘497

 case. (Id. at 8). As to the PTAB, Defendants note the PTO uses a different standard for

 construction than courts, affording “the broadest reasonable interpretation in light of the

 specification.” (Id. at 8) (citing In re Am. Acad. Of Sci. Tech Ctr., 367 F.3d 1359, 1369 (Fed.

 Cir. 2004). Defendants further note the reexamination Requester did not present arguments to

 the PTAB on this issue as acknowledged by SynQor. (Id. at 8-9).

        In its reply, SynQor reiterates the PTAB adopted the same construction as the ‘497 Order.

 SynQor asserts it did not disavow the resonant converters in the reexamination. (Docket Entry

 #285 at 5). SynQor further asserts the passages cited by Defendants do not qualify as a “clear

 and unmistakable” disclaimer of all possible types of resonant converters. (Id.). SynQor notes

 that in the ‘190 Patent Reexamination, it explicitly stated that the patent “excludes waveforms

 used by certain ‘resonant converters,’ ‘where the oscillations last for a large portion, if not all, of

 the on-state and/or off state time’ (e.g. JP ‘446 Steigerwald ‘090 and Steigerwald ‘539).” (Id.)

 (quoting Docket Entry #280 Ex. 5, SynQor Response to Office Action (‘190 Patent

 Reexamination) at 4). SynQor asserts it did not distinguish all resonant converters but only

 certain ones in which the oscillations “last for a large portion, if not all” of the on and off state

 time. (Id. at 5-6). In addition, SynQor notes that the ‘190 Patent reexamination response was

 made on July 13, 2010, before the claim construction ruling was made in the ‘497 case. To the



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 extent the prosecution history creates any ambiguity, SynQor asserts the PTO resolved such

 ambiguity by concluding there was no exclusion. (Id. at 6).

         SynQor cites to a figure of Steigerwald which demonstrates the Steigerwald transition

 times are much longer than the required less than 20%:




 (Docket Entry #285 at 6). SynQor asserts the point of distinction of Steigerwald was the 20%

 limitation. (Id. at 5-6).



         (2) Court’s Construction
 “oscillations”

         The specification treats transitions as different from oscillations: “the circuit topology

 permits the synchronous rectifier switch transitions to proceed as oscillations between inductors

 and capacitors.” (‘190 Patent at 8:8-11). Thus, as used in this passage oscillations are a type of

 transition, and transitions are not inherently oscillations. See Phillips, 415 F.3d at 1314 (“[T]he

 claim term in this case refers to ‘steel baffles,’ which strongly implies that the term ‘baffles’ does

 not inherently mean objects made of steel.”).         Further, Defendants do not contest that the

 ordinary meaning of “transitions” is broader than “oscillations.” Rather, Defendants point to the

 specification embodiments to support their position. However, even if only a single embodiment

 exists, the preferred embodiment is not inherently required to be read into the claims. See

 Arlington Industries, Inc. v. Bridgeport Fittings, Inc., 632 F.3d 1246, 1254 (Fed. Cir. 2011)

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 (“Even where a patent describes only a single embodiment, claims will not be read restrictively

 unless the patentee has demonstrated a clear intention to limit the claim scope using words or

 expressions of manifest exclusion or restriction.”) (internal citations omitted). Defendants have

 not pointed to a clear intention to limit the claim scope or an expression of manifest restriction to

 limit “transitions” to “oscillations.”

         The parties appear to agree that “transitions” are the changes from a plateau

 corresponding to one polarity of the signal to a plateau corresponding to the other polarity. At

 the hearing, Defendants represented their focus is on the other two issues. Further, both parties

 are arguing the “real world” or “random” fluctuations such as those shown in SynQor’s figure

 above are not what is meant by “transition.” However, each party asserts the other party’s

 construction would encompass such fluctuations. As the parties are in agreement as to the basic

 concept and neither party appears to have asserted a conflicting understanding of “transition,”

 there appears to be no need to disturb the construction of the ‘497 Order in this regard, a

 construction that in an ordinary reading to one skilled in the art (and to a jury in context of the

 art) would be clear.3



 “full resonant, quasi-resonant and multi-resonant converters”

         Defendants rely primarily on the prosecution history statements quoted above. The

 prosecution history must show that the patentee clearly and unambiguously disclaimed or

 disavowed the proposed interpretation during prosecution to obtain claim allowance. Middleton

 Inc. v. 3M Co., 311 F.3d 1384, 1388 (Fed. Cir. 2002). Statements will constitute disclaimer of

 scope only if they are “clear and unmistakable statements of disavowal.” See Cordis Corp. v.

 3
    If the parties’ positions subsequently change to include such random, real-world, or noise
 fluctuations within the meaning of the term and this issue becomes an O2 Micro problem at a
 later date, at that time the parties may seek a clarification from the Court on the construction.
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 Medtronic Ave, Inc., 339 F.3d 1352, 1358 (Fed. Cir. 2003). An “ambiguous disavowal” will not

 suffice. Schindler Elevator Corp. v. Otis Elevator Co., 593 F.3d 1275, 1285 (Fed. Cir. 2010)

 (citation omitted). Because the file history “represents an ongoing negotiation between the PTO

 and the applicant, rather than the final product of that negotiation, it often lacks the clarity of the

 specification and thus is less useful in claim construction proceedings.” Phillips, 415 F.3d at

 1317. When read in full context, and in context of the specification passage at ‘190 8:11-19, a

 clear disclaimer as to resonant converters is not created. Rather, the passages together are

 indicative that converters which fail the 20% limitation are what was being excluded. The

 passages are not clear that all resonant converters are disavowed. In context, the more natural

 reading of the prosecution history and the specification is that the 20% limitation was the point

 of distinction relied upon.

        The Court construes “transition times” to mean “time periods during which a change

 of a voltage waveform occurs across a primary winding.” The Court construes “transition

 times which are short relative to the on-state and off-state times of the controlled rectifiers”

 to mean “the sum of all transition times totals less than 20% of the overall on-state and off-

 state times of the controlled rectifiers.”

 C.     “Substantially Uninterrupted Flow of Power”

                “substantially uninterrupted flow of power through the primary
                                and secondary winding circuits”
                                  (‘021 Patent claims 1, 31, 47)

 Plaintiff’s Proposed Construction                   Defendants’ Proposed Construction

 “throughout at least the portions of the            “throughout the switching cycle, power flows
 switching cycle other than the brief transition     through the primary and secondary winding
 times, power flows through the primary and          circuits without substantial interruption”
 secondary winding circuits”




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             “power flow through the …converter is substantially uninterrupted”
                               (‘702 Patent claims 19, 46, 75)

 Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

 “throughout at least the portions of the “throughout the switching cycle, power is
 switching cycle other than the brief transition flowing through the       converter without
 times, power is flowing through the converter.” substantial interruption”



        These terms were not addressed in the ‘497 Order.

        (1) Parties’ Positions

        The primary dispute relates to SynQor’s addition of “other than the brief transition times”

 to the construction. SynQor cites to the specification statement: “during normal operation the

 isolation stage is operated at a fixed duty cycle in which power is always flowing from input to

 output (except during the brief switch transitions).” (‘021 Patent at 4:8-11). SynQor asserts the

 specification contrasts this to non-normal operations in which the voltage across the transformer

 winding is zero (and thus power is also zero). (Docket Entry #277 at 20) (citing ‘021 4:4-5).

 SynQor similar notes the ‘190 Patent includes the statement that power flow through the

 isolation stage is “not interrupted (except to charge/discharge parasitic capacitances and

 inductances).” (‘190 Patent at 6:2-4). SynQor relies on its expert’s report, asserting charging

 and discharging of the parasitic capacitances and inductances occurs during the transition time.

 (Docket Entry #277 at 20).

        In their response, Defendants assert the parties’ constructions are close, with the

 significant difference being “other than the brief transition times.” (Docket Entry #280 at 12).

 Defendants assert SynQor’s construction is likely to confuse the jury. Specifically, Defendants

 assert SynQor’s construction provides no guidance as to what is “brief.” Defendants assert

 SynQor’s expert testified there was nothing in the ‘021 claim 1 that limits the length of


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 transitions. (Id.). Thus, Defendants assert SynQor’s construction would encompass, for example,

 transitions lasting 95% of the switching cycle. According to Defendants, it would be absurd to

 find that “substantially uninterrupted power flow” would encompass a system having no power

 flow 95% of the time. (Id. at 12-13). Defendants further assert the ‘021 4:8-11 passage cited by

 SynQor does not teach per se that power flow interrupted only during a “brief switch transition”

 is substantially uninterrupted. (Id. at 13). Defendants assert this passage merely describes when

 an interruption can occur in a particular embodiment. (Id. at 13).

        In reply, SynQor asserts Defendants’ proposed construction merely reorders the terms to

 be construed and provides no guidance as to the meaning of “substantial.” (Docket Entry #285

 at 8). SynQor reiterates that ‘021 4:8-14 makes clear that power is always flowing “except

 during brief switch transitions.” SynQor further asserts Defendants’ construction does not make

 clear that power can be interrupted during switch transitions. (Id.). SynQor expresses concerns

 that Defendants will assert that “brief” switch transitions are substantial interruptions. SynQor

 asserts the parties’ agreement as to “short” transition times provides the guidance that

 Defendants assert is missing with regard to “brief.” Finally, SynQor notes that “short transition

 times” was agreed to mean less than 20% of the switching cycle.      (Id. at 8-9).

        (2) Court’s Construction

        The specification describes that in normal operations “power is always flowing from

 input to output (except during the brief switch transitions).” (‘021 Patent at 4:8-11). This

 concept conforms to the claim concept which states, for example in ‘021 Patent claim 1,

 “substantially uninterrupted flow of power through the primary and secondary winding circuits

 during normal operation.”    SynQor’s proposal equates “brief” from the specification with the

 agreed 20% time limitation of the “short transition time” term.          However, at the hearing,



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 Defendants objected, asserting the 20% limitation relates to the transformer voltage transition

 times and not to the switch transition times. Defendants are correct. At the hearing, the parties

 acknowledged that as the transformer voltage changes from high to low, at least some power

 flow still generally exists during at least some of such period.           Moreover, the parties

 acknowledged that the power interruption occurs when the controlled rectifier switches are

 transitioning.   This switch transitioning is the “brief switch transition” referenced in the

 specification.   As noted with regard to the now agreed “controlled rectifier terms,” the switch

 transition occurs “at some point in the course of the change of the voltage waveform across a

 primary winding.”

        Thus, the 20% time limitation of the transformer voltage change is not the proper context.

 Rather, the brief transistor switching times are the appropriate context for the period of power

 interruption. As the parties agreed at the hearing that the switch transition times provide context

 for the power interruption, there no longer appears to be a dispute as to whether the specification

 provides guidance as to the scope of “substantial.” Further, the parties did not articulate that a

 dispute remains that would be presented to the jury. 4 Considering Defendants’ construction

 generally rewords the claims and in light of the acknowledgements of the parties, the Court finds

 these terms need no construction at this time. In context of the specification, the original claim

 language appears sufficiently clear and understandable for presentation to a jury.

        The Court finds that the “substantially uninterrupted flow of power” terms have their

 plain and ordinary meaning.




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    As stated in footnote 3, if the parties’ positions subsequently change such that this issue
 becomes an O2 Micro problem at a later date, at that time the parties may seek a clarification
 from the Court on the construction.
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 D.     “Power Flow “First Before” Any Regulation Stage

  “a non-regulating isolating step-down converter through which power from the DC input
                  flows first before flowing through any regulation stage”
                                 (‘702 Patent claims 1, 28, 55)

 Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

 “step-down converter” has the same meaning “a non-regulating, isolating step down
 as down converter.” “Down converter” means converter that is powered from an unregulated
 “a switching regulator where power flows DC input voltage”
 toward the lower voltage.” See constructions
 for     “nonregulating,”      “isolating,”    and
 “regulation.” SynQor is of the view that no
 further construction of this phrase is required.
                  “flowing power from the DC input through a non-regulating
                isolating step-down converter first before any regulation stage”
                                    (‘702 Patent claims 78, 82, 86)

 Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

 “step-down converter” has the same meaning “powering a non-regulating, isolating step
 as down converter.” See constructions for down converter from an unregulated DC input
 “down         converter,”      “nonregulating,” voltage”
 “isolating,” and “regulation.” SynQor is of the
 view that no further construction of this phrase
 is required.

        These disputed terms were not addressed in the ‘497 Order.

        (1) Parties’ Positions

        The primary issue in dispute is whether the terms require the signal to be powered from

 an unregulated DC input voltage. SynQor asserts the parties appear to agree as to the meanings

 of “step-down converter,” “down converter,” “isolating” and “regulation.” SynQor asserts the

 remaining language which states that power “flows first before flowing through any regulation

 stage” merely means what it says – that power from the DC input flows through the non-

 regulating isolating converter before it flows through a regulation stage. (Docket Entry #277 at

 25). SynQor asserts Defendants’ construction adds “powered from” an unregulated DC input


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 voltage. SynQor contends the claim language is a temporal limitation which deals with the order

 of power flow, and Defendants’ construction deals with the type of signal that is powering the

 converter (an unregulated DC input voltage). (Id.).

        In their response, Defendants assert the plain language of the claim requires that power

 flow on a path from a “DC input” to an isolating converter that does not include a regulation

 stage. According to Defendants, the plain language is ambiguous and gives no guidance as to

 how to identify the relevant path from which a regulation stage must be absent. (Docket Entry

 #280 at 24). Defendants use a figure to illustrate the problem:




 (Id. at 25). Defendants contend that under SynQor’s construction, the inquiry depends totally on

 an identification of some point in the circuit as being the DC input. If point A is the input, then

 the claim limitation is not met (because power first flows through the regulator). But if point B

 is considered to be the DC input then the claim limitation is met. (Id.). Defendants assert their

 construction requires the DC input to be an unregulated input and resolves this ambiguity. Id.

 Defendants point out this conforms to the plain meaning of the claims in which the “power from

 the DC input flows first before flowing through any regulation stage.” Defendants assert their

 construction eliminates the need for the jury to identify an arbitrary DC input.           Finally,

 Defendants assert their construction also conforms to the specification which only teaches

 unregulated inputs. (‘190 Patent at 4:23-25) (citing to input voltage variations).



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        In its reply, SynQor reiterates there is no ambiguity. SynQor asserts the first element of

 the claim (‘702 Patent claim 1) describes the DC input, and there is no need to add a different

 more restrictive DC input limitation.

        (2) Court’s Construction

        At the hearing, SynQor acknowledged that the claimed system provides a DC-DC power

 converter system that has a DC input provided to a non-regulating isolation converter prior to

 any regulation stages in the system. (Hearing Slides 3 and 6). SynQor asserts the claims provide

 the description of any required characteristics of the system DC input, for example ‘702 Patent

 claim 1: “a DC input providing an input voltage that varies over a range that is more than plus or

 minus a few percent.”       SynQor expressed concern that Defendants would utilize their

 construction to confuse the jury by pointing to some regulation stage that is not part of the DC-

 DC power converter system.

        On its face, the claim language is clear.    The claims describe the characteristics of the

 DC input and the configuration of the isolating converter with regard to any regulation stage in

 the system. SynQor is correct that Defendants’ construction could lead to jury confusion as to

 elements outside of the claimed system.

        The Court therefore construes ““a non-regulating isolating step-down converter

 through which power from the DC input flows first before flowing through any regulation

 stage” and “flowing power from the DC input through a non-regulating isolating step-down

 converter first before any regulation stage” to have their plain and ordinary meaning.




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 E.     “Control Circuit Which Controls Duty Cycle” terms

           “control circuit which controls duty cycle of the primary winding circuit”
                                      (‘021 Patent claim 1)

                  “controlling duty cycle of the power to the primary winding”
                                      (‘021 Patent claim 31)

 Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

 “primary winding circuit” has the same “a control circuit that maintains the duty cycle
 meaning as “primary transformer winding of the primary winding circuit”
 circuit.”
                                                 Defendants alternatively propose:
 “Primary transformer winding circuit” means “a control circuit which controls the duty cycle
 “a circuit that includes a primary winding of a of the primary winding circuit so as to
 transformer.”                                   maintain the duty cycle during normal
                                                 operation.”
 SynQor is of the view that no further
 construction of this phrase is required.


        The ‘497 Order provided no further construction beyond the agreed construction of

 “primary winding circuit.” However, neither party in that case argued for a construction of

 “control circuit.”

        (1) Parties’ Positions

        The primary dispute involves whether a circuit that “controls the duty cycle” is a circuit

 that “maintains” the duty cycle. In its opening brief, SynQor notes the parties agree to the

 meaning of the terms “primary winding circuit” and “primary transformer winding circuit.”

 (Docket Entry #277 at 26) (citing Dkt. 267 at 49). SynQor asserts the ‘497 court did not need to

 construe “control circuit.” (Id.). SynQor objects to Defendants’ proposal, asserting it redefines

 “control” to mean “maintains.” SynQor asserts these two terms carry different meanings as

 “maintain” relates to keeping in a particular state whereas “control” is related to restraining or

 directing influence over. (Id.). SynQor asserts a circuit may control the duty cycle by changing it


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 from one value to another in which case the circuit is not “maintaining” the duty cycle. (Id.).

 SynQor also asserts the specification refers to “variable duty cycle control” which indicates that

 “control” may include varying the duty cycle and is not limited to situations in which the duty

 cycle is maintained. (Id.) (citing ‘021 3:52-56, 3:62-65). SynQor further cites to the usage in the

 specification of a “PWM control chip” that can “reduce its duty cycle.” (Id.) (citing ‘021 Patent

 at 4:60-63).

        In their response, Defendants cite to ‘021 4:8-10, 4:54-58 as describing the pulse width

 modulator (“PWM”) control chip of the “control circuit” as being “normally operated such that

 the gate drive signals … give the fixed duty cycle operation.” (Docket Entry #280 at 27).

 Defendants assert the specification contrasts the normal operation in which the duty cycle is

 fixed with “other than normal operations” in which the duty cycle may be reduced. (Id.) (citing

 ‘021 Patent at 2:19-22). Defendants assert the claims draw the same distinction as ‘021 claims 1,

 31, and 47 describe controlling in normal operations and dependent claims 2, 17, 20 and 32

 relate to reducing the duty cycle in periods other than normal operation. Defendants also cite to

 independent claim 47 which includes “means for controlling the duty cycle in normal operation”

 and dependent claim 48 which adds “means for reducing the duty cycle…in other than normal

 operation.”      Defendants argue this distinction supports construing “controlling” as

 “maintaining.”

        In its reply, SynQor states the specification nowhere defines “control” to mean

 “maintain.” SynQor asserts there is no requirement in the specification to read into the term a

 specific implementation from the preferred embodiment. (Docket Entry #285 at 10). Regarding

 Defendants’ claim differentiation argument, SynQor asserts claim 48 (which requires the duty

 cycle be reduced in other than normal operation) is different from and narrower than merely



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 general “controlling” and thus the doctrine does not require “controlling,” in claim 47 to mean

 “maintaining.” (Id.)

        (2) Court’s Construction

        Defendants do not rebut the concept that the ordinary meanings of “controlling” and

 “maintaining” are not the same. Rather, Defendants merely point to an embodiment in the

 specification in which the control is a type that maintains the duty cycle. However, Defendants

 do not point to any clear disavowal in the specification mandating this embodiment of “control”

 to be incorporated into the claims. See Arlington Industries, Inc., 632 F.3d at 1254 (“Even where

 a patent describes only a single embodiment, claims will not be read restrictively unless the

 patentee has demonstrated a clear intention to limit the claim scope using words or expressions

 of manifest exclusion or restriction.”) (internal citations omitted). Further, SynQor has pointed

 to usages in the specification in which “control” is used in the context of controlling the duty

 cycle in variable manner, not just “maintaining.” (‘021 Patent at 3:52-56, 3:62-65, 4:60-63).

 Usage of control circuits in this manner makes clear that as used in the ‘021 Patent “control”

 does not equate to “maintain.” In addition, “[a] claim interpretation that excludes a preferred

 embodiment from the scope of the claim ‘is rarely, if ever, correct.’” Globetrotter Software, Inc.

 v. Elam Computer Group Inc., 362 F.3d 1367, 1381 (Fed. Cir. 2004) (quoting Vitronics Corp.,

 90 F.3d at 1583).

        As for the claim differentiation argument, SynQor properly notes that even if “control” is

 given its broader more general meaning, dependent claim 48 adds a narrower structure in which

 the claim further adds a particular type of control means to “reduce the duty cycle of the primary

 winding circuit to cause freewheeling period in the other than normal operation.” Thus, claim

 differentiation does not support requiring “controlling” to mean “maintaining.” The Court finds



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 “control circuit which controls duty cycle of the primary winding circuit” and “controlling

 duty cycle of the power to the primary winding” need no further construction other than the

 agreed primary winding limitations.

 F.       Means for Controlling Duty Cycle

       “means for controlling duty cycle of the power to the primary winding, the duty cycle
      causing substantially uninterrupted flow of power through the primary and secondary
       windings during normal operation to provide an isolated output without regulation”
                                       (‘021 Patent claim 47)

 Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

 Agreed Claimed Function:                          Agreed Claimed Function:
 “controlling the duty cycle of the power to the   “controlling the duty cycle of the power to the
 primary winding such that the duty cycle          primary winding such that the duty cycle
 causes substantially uninterrupted flow of        causes substantially uninterrupted flow of
 power through the primary and secondary           power through the primary and secondary
 windings during normal operation to provide       windings during normal operation to provide
 an isolated output without regulation”            an isolated output without regulation”

 Claimed Structure:                          Claimed Structure:
 “Figures 4A, 4B, 4C, and 4D of the ‘021 Indefinite
 patent, column 4, line 32 through column 5,
 line 5 of the ’021 patent, and equivalents
 thereof.”


          The ‘497 Order adopts a construction of the claimed structure that matches SynQor’s

 proposed construction. (‘497 Order at 37-40).

          (1) Parties’ Positions

          Defendants assert there is no structure corresponding to the claimed function. SynQor

 asserts the ‘497 court rejected the argument that the term was indefinite for lack of a disclosed

 structure corresponding to the function. SynQor notes the ‘497 Order found that the ‘021 Patent

 “expressly provides that a ‘control circuit’ performs the claimed function” and that “Figures 4A-

 4D show a control circuit for the circuits embodying the present invention.” (Docket Entry #277


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 at 27-28) (quoting ‘497 Order at 39). SynQor further quotes the ‘497 Order as stating that “it is

 clear that the disclosed ‘control circuit’ is clearly linked to and associated with the claimed

 function.” (Id. at 28) (quoting ‘497 Order at 40).

        In their response, Defendants contend there is no disclosure of (1) structure capable of

 controlling the duty cycle of the power to the primary winding and (2) structure that causes

 substantially uninterrupted flow of power during normal operation to provide an isolated output

 without regulation. (Docket Entry #280 at 28). They argue the specification at 4:32-5:5 covers a

 range of topics but fails to clearly identify a structure that corresponds with the claimed function.

 (Id. at 29). Defendants assert the most pertinent language merely references a class of control

 chips that when normally operated facilitate a fixed duty cycle. (Id.) (citing ‘021 4:54-58) They

 contend the cited passage fails to reference components that both control the duty cycle and

 create a substantially uninterrupted flow of power during normal operation. (Id. at 29-30).

        In reply, SynQor asserts Defendants admit that the U100 pulse width modulator control

 chip (the referenced class of control chips) facilitate a fixed duty cycle, and Defendants have not

 pointed to clear and convincing evidence that the claim is invalid. (Docket Entry #285 at 10).

        (2) Court’s Construction

        The arguments raised are substantially the same as those asserted in the ‘497 Case. See

 ‘497 Order at 39-40. Prior claim construction proceedings involving the same asserted patents

 are “entitled to reasoned deference under the broad principals of stare decisis and the goals

 articulated by the Supreme Court in Markman, even though stare decisis may not be applicable

 per se.” Maurice Mitchell Innovations, LP v. Intel Corp., No. 2:04-CV-450, 2006 WL 1751779,

 at *4 (E.D. Tex. June 21, 2006). The Court nonetheless conducts an independent evaluation

 during claim construction proceedings. See, e.g., Texas Instruments, Inc. v. Linear Techs. Corp.,



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 182 F. Supp. 2d 580, 589-90 (E.D. Tex. 2002); Burns, Morris & Stewart Ltd. P’ship v. Masonite

 Int’l Corp., 401 F. Supp. 2d 692, 697 (E.D. Tex. 2005); Negotiated Data Solutions, Inc. v. Apple,

 Inc., No. 2:11-CV-390, 2012 WL 6494240 (E.D. Tex. Dec. 13, 2012).

        The specification states that “a control circuit controls duty cycle of the primary winding

 circuit, the duty cycle causing substantially uninterrupted control of power through the primary

 and secondary winding circuits during normal operation.” (‘021 Patent at 2:14-18). Further, the

 specification describes FIGS. 4A-4C as showing “a control circuit for the circuits of FIGS. 1-3

 and embodying the present invention, and FIG. 4D shows an alternative to the circuit of FIG. 4B.

 (‘021 Patent at 63-65).” The circuits are described in more detail at 4:32-5:5. Thus, the ‘021

 Patent discloses the structure shown in FIGS. 4A-4D and the corresponding specification

 description as performing the claimed controlling function. As noted in the ‘497 Order, “[w]hile

 the actual operation of the disclosed control circuits may be less than clear to the Court, it is clear

 that the disclosed ‘control circuit’ is clearly linked to and associated with the claimed function.

 (See ‘021 Patent at 2:13-18). Thus the Court finds that the claim is not invalid.” (‘497 Order at

 40). In light of the disclosure in the specification, the construction of the ‘497 Order does not

 require modification.

                                         IV. CONCLUSION


        The Court hereby orders the claim terms addressed herein construed as indicated. A

 chart summarizing these constructions is attached as Exhibit A.

        The parties are further ordered that they may not refer, directly or indirectly, to each

 other’s claim construction positions in the presence of the jury. Likewise, the parties are ordered

 to refrain from mentioning any portion of this opinion, other than the actual constructions




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 adopted by the Court, in the presence of the jury.        Any reference to claim construction

 proceedings is limited to informing the jury of the constructions adopted by the Court.
 SIGNED this 2nd day of January, 2014.




                                            ____________________________________
                                            CAROLINE M. CRAVEN
                                            UNITED STATES MAGISTRATE JUDGE




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                                               Exhibit A

 Agreed Claim Term                                                      Agreed Construction or
                                                                        Structure
 "connected"                                                            "Electrically connected,
                                                                        directly or indirectly."
 '190: 1, 12, 20, 27, 30, 33
 "isolation"                                                            "The absence of an electric
                                                                        path permitting the flow of
 '190: 1, 9, 13, 20, 23, 25, 27, 30, 33                                 DC current (other than a de
 '034: 1, 8, 16, 20, 21, 24                                             minimus amount) between
 '021: 1, 22, 24, 31, 47                                                an input and an output of a
 '290: 4                                                                particular stage, component,
                                                                        or circuit."
 "isolating"                                                            "The absence of an electric
                                                                        path permitting the flow of
 '083: 1, 2, 14, 15, 39                                                 DC current (other than a de
 '702: 1, 18, 19, 23, 26, 27, 28, 45, 46, 50, 53, 54, 55, 64, 67, 68,   minimus amount) between
 74, 75, 78, 81, 82, 85, 86, 89                                         an input and an output of a
 '290: 1, 6, 9, 10, 11, 14, 15                                          particular stage, component,
                                                                        or circuit."
 "isolated"                                                             "The absence of an electric
 '190: 30, 32, 33                                                       path permitting the flow of
 '034: 20, 28                                                           DC current (other than a de
 '021: 31, 45, 47                                                       minimus amount) between
 '083: 1, 2, 14, 20, 39                                                 an input and an output of a
 '702: 1, 17, 18, 23, 26, 27, 28, 44, 45, 50, 53, 54, 55, 64, 67, 68,   particular stage, component,
 73, 74, 78, 81, 82, 85, 86, 89                                         or circuit."
 '290: 6, 9, 10, 11, 14, 15
 "regulated output"                                                     "An output that is controlled
                                                                        towards a predefined value."
 '190: 30, 33
 '034: 20, 28
 '021: 31, 47
 '702: 28, 82
 "regulated DC output"                                                  "A DC output that is
                                                                        controlled towards a
 '702: 1, 28, 55, 78, 82, 86                                            predefined value."
 '290: 1, 7
 "regulating"                                                           "Controlling an output
                                                                        towards a predefined value."
 '190: 1, 20, 27
 '021: 1
 "regulation"                                                           "The act of controlling an
                                                                        output towards a predefined


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 '190: 1, 2, 3, 10, 14, 15, 16, 19, 20, 21, 26, 27, 30                  value."
 '034: 8, 20, 24, 28
 '021: 1, 21, 23, 25, 26, 27, 30, 31, 47
 '702: 1, 28, 55, 78, 82, 86
 "non-regulating"                                                       "Not controlling an output
                                                                        towards a predefined value."
 '190: 1, 20, 29
 '021: 1
 '083: 1, 14, 15, 39
 '702: 1, 18, 19, 23, 26, 28, 45, 46, 50, 53, 55, 64, 67, 74, 75, 78,
 81, 82, 85, 86, 89
 '290: 1, 4, 6, 9, 11
 "without regulation"                                                   "The act of not controlling
                                                                        an output towards a
 '190: 30                                                               predefined value."
 '021: 31, 47
 "normally non-regulating"                                              "Non-regulating during
                                                                        normal operation."
 '021: 1
 "during normal operation"                                              "During a normal mode of
                                                                        operation that excludes
 '021: 1, 31, 47                                                        start-up, shutdown, and fault
                                                                        conditions such as
                                                                        overcurrent conditions."
 "semi-regulated, isolated output"                                      "An isolated output that is
                                                                        controlled towards a
 '034: 20, 28                                                           predefined value by sensing
                                                                        a voltage in the primary
                                                                        transformer winding circuit
                                                                        without sensing the isolated
                                                                        output voltage."
 "semi-regulation"                                                      "The act of controlling an
                                                                        output towards a predefined
 '034: 1, 16, 21                                                        value by sensing a voltage
                                                                        in the primary transformer
                                                                        winding circuit without
                                                                        sensing the isolated output
                                                                        voltage."
 "nearly losslessly delivered to and recovered from capacitors          "No more than 30% of the
 associated with the controlled rectifiers"                             energy delivered to and
                                                                        recovered from capacitors
 '190: 11                                                               associated with the
 '083: 16                                                               controlled rectifiers is
 '702: 20, 47, 76                                                       dissipated."
 "down converter"                                                       "A converter where the
                                                                        output voltage is lower than

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 '190: 3, 21                                                       the input voltage."
 '021: 21
 '702: 1, 23, 26, 28, 50, 53, 55, 64, 67, 78, 81, 82, 85, 86, 89
 '290: 2
 "control circuit that senses a voltage in the primary             "Senses a voltage in the
 transformer winding circuit to provide a feedback control         primary transformer
 signal without bridging an isolation barrier between the          winding circuit to provide a
 primary and secondary transformer winding circuits"               feedback control signal
                                                                   without bridging an
 '034: 1                                                           isolation barrier between the
                                                                   primary and secondary
                                                                   transformer winding
                                                                   circuits" means "senses a
                                                                   voltage in the primary
                                                                   transformer winding circuit
                                                                   to provide a feedback signal
                                                                   that is used to control the
                                                                   duty cycle of a transistor in
                                                                   the primary transformer
                                                                   winding circuit without
                                                                   passing the feedback signal
                                                                   across the isolation barrier
                                                                   of the primary and
                                                                   secondary transformer
                                                                   winding circuits." No
                                                                   further construction of this
                                                                   phrase is required.
 "multiple non-regulating isolating step down converters           "Two or more non-
 providing plural nonregulated, isolated DC outputs, plural of     regulating isolating step
 the non-isolating down converter switching regulators             down converters, each
 receiving power from one of the non-regulated, isolated DC        providing a non-regulated,
 outputs"                                                          isolated DC output, wherein
                                                                   two or more of the non-
 '702: 23, 26, 50, 53, 64, 67, 81, 85, 89                          isolating down-converter
                                                                   switching regulators
                                                                   receives power from one of
                                                                   the non-regulated, isolated
                                                                   DC outputs."
 "transformer that is not driven into saturation"                  "Transformer that is
                                                                   connected in a manner such
 '702: 1, 82, 86                                                   that the transformer's
                                                                   magnetic flux density level
                                                                   is less than its saturation
                                                                   flux density level."
 "means for providing plural regulated outputs, without            Claimed Function:
 further isolation, from the isolated output"                      "Providing plural regulated

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                                                                        outputs, without further
 '021:47                                                                isolation, from the isolated
                                                                        output."

                                                                        Corresponding Structure:
                                                                        "Non-isolated DC-DC
                                                                        switching or linear
                                                                        regulators (element 503 of
                                                                        Figure 5 of the '021 patent)
                                                                        and equivalents thereof."
 "a non-regulated, isolated DC output"                                  "An isolated DC output that
                                                                        is not controlled towards a
 '083: 1, 14, 20, 39                                                    predefined value." See
 '702: 1, 17, 18, 23, 26, 28, 44, 45, 50, 53, 55, 64, 67, 73, 74, 78,   construction of "isolated."
 81, 82, 85, 86, 89
 '290: 1, 6, 9, 10, 11, 14, 15
 "non-regulated output"                                      "An output that is not
                                                             controlled towards a
 '021: 1                                                     predefined value."
 "plural non-regulated, isolated DC outputs"                 "More than one isolated DC
                                                             output that is not controlled
 '702: 26, 53, 67, 81, 85, 89                                towards a predefined value."
                                                             See construction of
                                                             "isolated."
 "a normally non-regulated output"                           "Non-regulated output that
                                                             occurs during normal
 '021: 1                                                     operation." "Normal
                                                             operation" means "a normal
                                                             mode of operation that
                                                             excludes start-up, shutdown,
                                                             and fault conditions such as
                                                             over-current conditions."
 "a non-regulated, isolated DC output having a non-regulated "A non-regulated, isolated
 voltage"                                                    DC output that has a voltage
                                                             that is not controlled to a
 '702: 1, 28, 55, 78, 82, 86                                 predefined value." See
                                                             construction of "isolated."
 "an isolated output without regulation"                     "Isolated output" means "an
                                                             output that is isolated from
 '190: 30                                                    the input." See constructions
 '021: 47                                                    for "isolated" and "without
                                                             regulation."
 "an isolated output normally without regulation"            See constructions for
                                                             "isolated output" and
 '021: 31                                                    "normally without
                                                             regulation."

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 “each controlled rectifier being turned on and off in “each controlled rectifier
 synchronization with the voltage waveform across a primary being turned from on to off
 winding”                                                   and from off to on at some
                                                            point in the course of the
 ‘190: 1, 20, 27, 30, 33                                    change of the voltage
 ‘083: 1, 39                                                waveform across a primary
 ‘702: 1, 28, 55, 78, 82, 86                                winding.”
 ‘290: 1

 Disputed Claim Term                                             Court’s Construction
 “fixed duty cycle”                                              “a duty cycle that is not
                                                                 varied to control the output
 ‘190: 1                                                         voltage towards a
                                                                 predefined value.”
 ‘083: 1, 39
 ‘702: 1, 28, 55, 78, 82, 86
 “transition times”                                              “time periods during which
                                                                 a change of a voltage
 ‘190: 1, 28, 31
                                                                 waveform occurs across a
 ‘702: 1, 28, 55, 78, 82, 86
                                                                 primary winding.”



 “transition times which are short relative to the on-state and “the sum of all transition
 off-state times of the controlled rectifiers”                  times totals less than 20% of
                                                                the overall on-state and off-
 ‘190: 1, 28, 31                                                state times of the controlled
 ‘702: 1, 28, 55, 78, 82, 86                                    rectifiers.”

 “substantially uninterrupted flow of power through the Plain and ordinary
 primary and secondary winding circuits”                meaning. No further
                                                        construction necessary.
 ‘021: 1, 31, 47

 “power flow through the . . . converter is substantially Plain and ordinary
 uninterrupted”                                           meaning. No further
                                                          construction necessary.
 ‘702: 19, 46, 75
 “a non-regulating isolating step-down converter through Plain and ordinary
 which power from the DC input flows first before flowing meaning. No further
 through any regulation stage”                            construction necessary.

 ‘702:1, 28, 55


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 “flowing power from the DC input through a non-regulating Plain and ordinary
 isolating step-down converter first before any regulation meaning. No further
 stage”                                                    construction necessary.

 ‘702: 78, 82, 86

 “control circuit which controls duty cycle of the primary No further construction
 winding circuit”                                          required other than the
                                                           agreed primary winding
 ‘021:1                                                    limitations.

 “controlling duty cycle of the power to the primary winding”

 ‘021: 31

 “means for controlling duty cycle of the power to the primary   Agreed Claimed Function:
 winding, the duty cycle causing substantially uninterrupted     “controlling the duty cycle
 flow of power through the primary and secondary windings        of the power to the primary
 during normal operation to provide an isolated output           winding such that the duty
 without regulation”                                             cycle causes substantially
                                                                 uninterrupted flow of power
 ‘021: 47                                                        through the primary and
                                                                 secondary windings during
                                                                 normal operation to provide
                                                                 an isolated output without
                                                                 regulation”

                                                                 Claimed Structure:
                                                                 “Figures 4A, 4B, 4C, and
                                                                 4D of the ‘021 patent,
                                                                 column 4, line 32 through
                                                                 column 5, line 5 of the ’021
                                                                 patent, and equivalents
                                                                 thereof.”




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